         Case 3:25-cv-00223-SFR          Document 7       Filed 02/12/25       Page 1 of 1
'&RQQ  




                                  UNITED STATES DISTRICT COURT
                                              for the
                                    DISTRICT OF &211(&7,&87



                          Plaintiff
                             v.                             Civil Action No.


                         Defendant

    NOTICE OF OPTION TO CONSENT TO MAGISTRATE JUDGE JURISDICTION

A United States Magistrate Judge has been assigned to this case and is available to conduct all
proceedings in this civil action (including presiding over a jury or non-jury trial) and to order the
entry of final judgment. The judgment may then be appealed directly to the United States Court
of Appeals like any other judgment of this Court. A Magistrate Judge may exercise this authority
only if all parties voluntarily consent.

You may consent to have your case resolved by the assigned Magistrate Judge or you may
withhold your consent without any adverse consequences. The name of any party withholding
consent will not be revealed to any judge who may otherwise be involved in your case.

The parties through their signature (or that of their counsel) consent to have the assigned United
States Magistrate Judge conduct all proceedings in this case including trial, the entry of final
judgment, and all post-trial proceedings, as indicated below:

             Name of Party               Signature of Party (or Attorney)              Date




NOTE: Do not file this form on ECF unless all parties have consented.
__________________________________________________________________
                                 (For Court Use Only)

IT IS ORDERED: All parties having consented, the assigned Magistrate Judge is authorized to
conduct all proceedings in this case, and enter final judgment, pursuant to 28 U.S.C. § 636(c) and
Fed. R. Civ. P. 73.

Date:                                  __________________________________
                                            District Judge Signature and Name
